            Case 1:21-cv-01359-JEB Document 1 Filed 05/18/21 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON,
1101 K Street NW, Suite 201,
Washington, DC 20005,

                      Plaintiff,
       v.

U.S. DEPARTMENT OF THE                                       Civil Action No. ________
TREASURY,
1500 Pennsylvania Avenue, NW
Washington, DC 20220, and

                      Defendant.


            COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

       1.      Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”) brings

this action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, against Defendant

U.S. Department of the Treasury (“Treasury”) seeking records relating to former Treasury

Secretary Steven Mnuchin’s contacts with sovereign wealth funds and expenditure of taxpayer

funds on trips to the Middle East.

       2.      CREW seeks declaratory relief that Treasury is in violation of FOIA, and

injunctive relief requiring Treasury to immediately process and release the requested records.

                                     Jurisdiction and Venue

       3.      This Court has subject-matter jurisdiction and personal jurisdiction under 5

U.S.C. §§ 552(a)(4)(B) and 552(a)(6)(C)(i). The Court also has jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331, 2201(a), and 2202.

       4.      Venue lies in this district under 5 U.S.C. § 552(a)(4)(B).
              Case 1:21-cv-01359-JEB Document 1 Filed 05/18/21 Page 2 of 6




                                                    Parties

        5.       Plaintiff CREW is a non-profit, non-partisan organization organized under section

501(c)(3) of the Internal Revenue Code. CREW is committed to protecting the rights of citizens

to be informed about the activities of government officials and agencies, and to ensuring the

integrity of government officials and agencies. CREW seeks to empower citizens to have an

influential voice in government decisions and in the government decision-making process

through the dissemination of information about public officials and their actions. To advance its

mission, CREW uses a combination of research, litigation, and advocacy. As part of those

efforts, CREW uses government records it obtains under FOIA.

        6.       Defendant Treasury is an agency within the meaning of 5 U.S.C. § 552(f)(1).

Treasury has possession, custody, and control of the requested records.

                                            Factual Background

        7.       On February 23, 2021, the Washington Post reported that former Treasury

Secretary Steven Mnuchin was “planning to start an investment fund that is expected to raise

money from sovereign wealth funds in the Persian Gulf region.” 1

        8.       As Treasury Secretary, Mnuchin frequently traveled to the Middle East, including

in October 2020 and January 2021.

        9.       The reports of Mnuchin’s planned investment effort, coming so soon after leaving

office, raise concerns over whether Mnuchin’s future pursuits may have influenced Trump

administration policy.

        10.      To help answer questions about these issues, CREW submitted a FOIA request to

Treasury on March 9, 2021, seeking six categories of records:


1
 Jeff Stein and Yeganeh Torbati, Trump’s former treasury secretary expected to launch investment fund, seeking
backing of Persian Gulf state funds, Washington Post, Feb. 23, 2021, https://wapo.st/38o3YN8.


                                                        2
     Case 1:21-cv-01359-JEB Document 1 Filed 05/18/21 Page 3 of 6




1.      Records sufficient to show the total amount of government funds expended on
        former Treasury Secretary Steven Mnuchin’s January 2021 trip to the Middle
        East, including without limitation any invoices, receipts, or other records
        reflecting the costs of travel, security, accommodations, food, beverages, and
        incidental expenses incurred on the trip.

2.      All communications sent by former Secretary Mnuchin from February 13, 2017,
        to January 20, 2021 concerning any sovereign wealth fund based in the Middle
        East, including without limitation any emails, text messages, or other records sent
        by Mr. Mnuchin mentioning any of the following terms:
        •       “sovereign wealth fund”
        •       “SWF”
        •       “Abu Dhabi Investment Authority”
        •       “ADIA”
        •       “Kuwait Investment Authority”
        •       “KIA”
        •       “Public Investment Fund”
        •       “PIF”
        •       “Investment Corporation of Dubai”
        •       “ICD”
        •       “Qatar Investment Authority”
        •       “QIA”
        •       “Turkey Wealth Fund”
        •       “Türkiye Varlık Fonu Yönetimi A.Ş.”
        •       “Mubadala”
        •       “Emirates Investment Authority”
        •       “EIA”
        •       “Mumtalakat”
        •       “Oman Investment Authority”
        •       “OIA”
        •       “Sovereign Fund of Egypt”
        •       “Egypt Fund”
        •       “Sharjah Asset Management”

3.      All calendar entries reflecting any meetings from February 13, 2017, to January
        20, 2021 attended by former Secretary Mnuchin and representatives of any
        sovereign wealth fund based in the Middle East, including without limitation
        calendar entries mentioning any of the following terms:
        •       “sovereign wealth fund”
        •       “SWF”
        •       “Abu Dhabi Investment Authority”
        •       “ADIA”
        •       “Kuwait Investment Authority”
        •       “KIA”
        •       “Public Investment Fund”
        •       “PIF”



                                         3
              Case 1:21-cv-01359-JEB Document 1 Filed 05/18/21 Page 4 of 6




                 •      “Investment Corporation of Dubai”
                 •      “ICD”
                 •      “Qatar Investment Authority”
                 •      “QIA”
                 •      “Turkey Wealth Fund”
                 •      “Türkiye Varlık Fonu Yönetimi A.Ş.”
                 •      “Mubadala”
                 •      “Emirates Investment Authority”
                 •      “EIA”
                 •      “Mumtalakat”
                 •      “Oman Investment Authority”
                 •      “OIA”
                 •      “Sovereign Fund of Egypt”
                 •      “Egypt Fund”
                 •      “Sharjah Asset Management”

        4.       For any calendar entry identified as responsive to item number 3 above, all
                 records reflecting the attendees, agenda items, minutes, summaries, readouts, or
                 similar records relating to such meetings.

        5.       Records relating to any meetings former Secretary Mnuchin had with foreign
                 government officials during his January 2021 trip to the Middle East, including
                 without limitation records reflecting the meeting attendees, agenda items,
                 minutes, summaries, readouts, or similar records.

        6.       Records relating to any meetings former Secretary Mnuchin had with foreign
                 government officials during his October 2020 trip to the Middle East, including
                 without limitation records reflecting the meeting attendees, agenda items,
                 minutes, summaries, readouts, or similar records.

        11.      CREW’s request sought a fee waiver.

        12.      By letter dated March 11, 2021, Treasury acknowledged receipt of CREW’s

request and assigned it tracking number 2021-FOIA-00421.

        13.      To date, CREW has received no further communications from Treasury regarding

its request.

                                 CREW’S CLAIM FOR RELIEF

                          Treasury’s Wrongful Withholding of Records
                             Responsive to CREW’s FOIA Request

        14.      CREW repeats and re-alleges the preceding paragraphs.



                                                  4
             Case 1:21-cv-01359-JEB Document 1 Filed 05/18/21 Page 5 of 6




       15.      In its March 9, 2021 FOIA request, CREW properly asked for records within the

possession, custody, and control of Treasury.

       16.      Treasury has failed to conduct an adequate search in response to CREW’s request.

       17.      Treasury is wrongfully withholding records responsive to CREW’s request.

       18.      By failing to timely release all requested records in full to CREW, Treasury is in

violation of FOIA.

       19.      CREW has constructively exhausted its administrative remedies.

       20.      CREW is therefore entitled to injunctive and declaratory relief requiring

immediate processing and disclosure of the requested records.

                                         Requested Relief

       WHEREFORE, CREW respectfully requests that this Court:

       1.       Order Treasury to immediately and fully process CREW’s FOIA request and

disclose all non-exempt records to CREW;

       2.       Issue a declaration that CREW is entitled to immediate processing and disclosure

of the requested records;

       3.       Provide for expeditious proceedings in this action;

       4.       Retain jurisdiction of this action to ensure no agency records are wrongfully

withheld;

       5.       Award CREW its costs and reasonable attorneys’ fees in this action; and

       6.       Grant such other relief as the Court may deem just and proper.




                                                 5
  Case 1:21-cv-01359-JEB Document 1 Filed 05/18/21 Page 6 of 6




Date: May 18, 2021                 Respectfully Submitted,

                                   /s/ Nikhel S. Sus
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